Case 2:04-cr-20432-.]PI\/| Document 35 Filed 06/09/05 Page 1 of 2 Page|D 47

FRED BV_,tJ
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE \ _
WESTERN DIVISION USJUN 9 PM Z'ho

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CLEHA. U.L. l.‘)':l“:.¢. (_.¢1.
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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20432-Ml

AARON HOPE
Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 9, 2005, the United States
Attorney for this district, Katrina Earley, appearing for the Government
and the defendant, Aaron Hope, appearing in person and with counsel,
Lorna McClusky, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea

heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, SEPTEMBER 7, 2005,
at 9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the j day of June, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRICT COURT

This doctment entered on the docket sheet ln comptiance
with H\l|e 55 and/or 32{b) FHCrP on " " `

   

UNITED sTATE DISTRIC COURT - WE TER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20432 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

